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 8                                      UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
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12   TIMOTHY GENS,                       )                     Case No.: C 10-3220 PVT
                                         )
13                     Plaintiff,        )                     ORDER TO SHOW CAUSE WHY CONSENT
           v.                            )                     PLAINTIFF PURPORTEDLY FILED ON
14                                       )                     BEHALF OF DEFENDANT VELLO SHOULD
                                         )                     NOT BE STRICKEN ; AND
15   VELLO CORPORATION, et al.,          )
                                         )                     ORDER CONTINUING HEARING AND CASE
16                     Defendants.       )                     MANAGEMENT CONFERENCE
     ___________________________________ )
17
18          On September 30, 2010, Plaintiff Timothy Gens filed a document purporting to be a consent
19   to Magistrate Judge jurisdiction filed on behalf of Defendant Vello Corporation, and signed by
20   Plaintiff Timothy Gens as “Counsel for Defendant Vello Corporation.” (See, Docket No. 29.) A
21   representative of the court’s clerk’s office has checked court records, and there is no record of
22   Timothy Gens ever having been admitted to practice before this court. Nor is there any application
23   filed in this action for Timothy Gens to appear pro hac vice. Finally, it would appear that Plaintiff’s
24   attempt to act as counsel for Defendant Vello Corporation in this action implicates a significant
25   conflict of interest. Therefore,
26          IT IS HEREBY ORDERED that, no later than October 12, 2010, Plaintiff shall file a
27   declaration showing cause, if any, why the consent he attempted to file on behalf of Defendant Vello
28   Corporation should not be stricken from the record.


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 1          IT IS FURTHER ORDERED that the hearing on Plaintiff Gens’ motion to remand and his
 2   motion for Rule 11 sanctions is CONTINUED to November 2, 2010.
 3          IT IS FURTHER ORDERED that the Case Management Conference in this matter is also
 4   CONTINUED to 10:00 p.m. on November 2, 2010.
 5   Dated: 10/5/10
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                                              PATRICIA V. TRUMBULL
 7                                            United States Magistrate Judge
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